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ORIGINA!

AUSA Kevin Mulcahy (313) 226-9100
AO 91 (Rev. 08/09) Criminal Complaint Special Agent Randal Cummings (313) 850-5756

UNITED STATES DISTRICT COURT
for the

Eastern District of Michigan

United States of America

v. Case:2:15-mj-30088
Viorel PRICOP Judge: Unassigned,
Filed: 02-19-2015 At 09:13 AM
USA v VIOREL PRICOP (MAW)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

On or about the date(s) of February 15 - 18, 2015 in the county of Oakland in the
Eastern District of Michigan , the defendant(s) violated:
Code Section Offense Description
8 United States Code § 1326(a)(1) On or about February 15 - 18, 2015, at or near Milford, Michigan, in

the Eastern District of Michigan, Southern Division, Vierel PRICOP,
was found to be in violation of Interstate Transportation of Stolen
Property in violation of Title 18, United States Code, Section 23 14.

This criminal complaint is based on these facts:
[ further state that I am a Homeland Security Investigation Special Agent and this compliant is based on the following facts:

See attached affidavit

Continued on the attached sheet. a

 

LO Complainant's signature

Randal Cummings, Special Agent
Printed name and title

Date: Ue {a - \S Usd. Uflay

Sworn to before me and signed in my presence.

City and state: Detroit, Michigan E/ (Lert fy Th. S4tefLrZ

Printed name and title

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

 

I, Randal Cummings, being duly sworn, depose and state as follows:

1) Tama Special Agent with Homeland Security Investigations ("HSI"), of the
United States Department of Homeland Security ("DHS"). I am assigned to
the Special Agent in Charge ("SAC"), Office of Investigations, in Detroit,
Michigan, located at 477 Michigan Ave, Suite 1850, Detroit, Michigan. I have
been employed with HSI since August 2010. I have successfully completed
the Criminal Investigator Training Program and the Immigration and Customs
Enforcement Special Agent Training Program at the Federal Law Enforcement
Training Center in Glynco, Georgia. I was previously employed from
September 2005 through August 2010 with the U.S. Department of Labor -
Office of Labor-Management Standards as a Lead Criminal Investigator. I
received a Bachelor's Degree in Criminal Justice from Michigan State
University.

7) The information set forth in this affidavit is based upon my knowledge and
investigation. This affidavit does not contain every fact that I have learned
during the course of the investigation, but instead includes only those facts
which I believe establish the requisite probable cause.

3) On February 15, 2015, a Michigan State Police (MSP) Trooper responded to
the address of 51830 Grand River Road, in Lyon, Oakland County, to locate
stolen property that was taken in Moriarty, New Mexico. Upon arrival the
MSP Trooper made contact with two individuals at the location, described as a
rental storage unit business. Upon contact with the subjects, the MSP Trooper
also observed a semi-tractor trailer and a van.

4) Your affiant learned that the MSP Trooper had been searching the area for a
load of stolen Bose stereos. MSP Operations Center had been contacted by
Shawn Driscoll of Swift Trucking Company in reference to the stolen property.
Driscoll advised that his company had installed tracking devices in the load of
Bose stereos prior to the theft. Once the items were stolen, the tracking
equipment was activated and guided the MSP Trooper to the area of 51830
Grand River.
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Your affiant learned that the MSP Trooper located a semi-tractor and trailer, a
van, and two individuals at the storage facility. Upon contact with the two
individuals, they quickly closed the door to the storage unit that they were
standing in front of. The MSP Trooper made contact with the individuals and
requested them to open the storage door to confirm no one was hiding inside.
Once opened, the MSP Trooper observed several Bose stereos that matched the
description of the stolen property.

The two individuals were identified by the MSP Trooper as Viorel PRICOP
and Ilie FETELEA, via their Michigan Driver’s Licenses. PRICOP advised the
MSP Trooper that he was the owner of the storage unit and the semi-tractor and
trailer. It was determined that the van belonged to FETELEA. With the
permission of PRICOP, the MSP Trooper obtained the serial numbers from the
Bose stereos in the storage unit.

Prior to being interviewed by the MSP Trooper, PRICOP was read his rights
per Miranda and agreed to waive his Miranda rights and answer questions.
PRICOP stated that the equipment in storage unit described above was stolen,
as was two pallets of baby formula located in the front of PRICOP’s semi-
trailer.

During the contact with PRICOP, it was determined that PRICOP additionally
owned another storage unit in the same business. PRICOP advised the MSP
Trooper that items in this other storage unit-—which were televisions, stereo
equipment, video conferencing equipment, clothing, and various household
goods—were also stolen. PRICOP stated that he transports stolen goods from
the southern United States to Michigan and is paid approximately $1,000 -
$2,000 for each pallet of stolen property. Once in Michigan, he gives the
property to an individual known as Hugo Lopez, who pays him for the

transport. The total value of the recovered/seized property is approximately
$600,000.

Your affiant learned from MSP that PRICOP is the owner/operator of the semi-

tractor and trailer company Good Time LLC. The company is located at
PRICOP’s residence in Milford, Michigan.

On February 18, 2015, a State of Michigan search warrant for PRICOP’s
residence in Milford, Michigan, was executed by MSP Troopers, United States
Secret Service Agents, State of Michigan local law enforcement officers, and
your affiant. The execution of the Search Warrant resulted in the recovery of

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two handguns and what appears to be stolen merchandise located in a large
pull-barn in the rear corner of the property. A semi-tractor and trailer was also
located in the pull-barn, which was found to be owned by PRICOP.

A criminal history database search disclosed that PRICOP was arrested in
Texas on August 21, 2013, for Unlawful use of Criminal! Instrument and on
December 16, 2014, was charged with the same at a level/degree: Felony —
State Jail Felony. PRICOP was arrested in Ohio on September 27, 1998, for
carrying a concealed weapon and on October 6, 1998, sentenced to 90 days
confinement and a fine of $1,000.

On February 19, 2015, HSI database searches disclosed that PRICOP, his
spouse Mihaela PRICOP, and their three young sons entered Canada at 1957
hours on February 18, 2015, via the Detroit Ambassador Bridge driving a
vehicle bearing license plate 8HVF37. State of Michigan, Secretary of State
database search disclosed that the vehicle is registered to William Thomas
Walter of Milford, Michigan

On February 19, 2015, your affiant and West Bloomfield (Michigan) Police
Department Detective Tim Lillard interviewed Michele Walter about PRICOP
entering Canada with a vehicle registered to her spouse. Michele stated that
she is friends with Mihaela and that on February 18, 2015, Mihaela contacted
Michele and asked if they could switch cars because they needed to go to
Canada and could not cross in their vehicles. Michele agreed to lend them her
vehicle and did not ask any questions. Michele met the PRICOPs at Denny’s
in Novi where they exchanged cars.
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14) Based on the foregoing, there is probable cause to believe that PRICOP has
knowingly transported, transmitted, or transferred in interstate or foreign
commerce any goods, wares, merchandise, securities or money, of the value of
$5,000 or more, knowing the same to have been stolen, converted or taken by
fraud, in violation of Title 18, United States Code, Section 2314.

LEZ 2—_.
Randal Cummings
Special Agent
United States Department of Homeland Security
Homeland Security Investigations

Sworn to before me and subscribed in my presence this 19th day of February 2015.
UM dirs 2-19-16

Elizabeth Stafford Date
United States Magistrate Judge
